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                           United States District Court
                            Northern District of Texas
                               Fort Worth Division

     State of Texas,
          Plaintiff,
     v.
     Miguel Cardona, in his
     official capacity as
     Secretary of Education;
     United States Department of                         No. 4:23-cv-00604-O
     Education; Merrick B.
     Garland, in his official
     capacity as Attorney
     General of the United
     States; and United States
     Department of Justice,

          Defendants.

                 T E XA S ’ S M O T I O N FO R S U M M A RY J UD GM E N T
          Plaintiff State of Texas moves this Court for an order granting its Motion for

     Summary Judgment on Counts I and II of its Complaint (ECF No. 1), pursuant to

     Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.3. This motion

     is supported by Texas’s Memorandum in Support of its Motion for Summary

     Judgment, which sets forth the argument and authorities on which Texas relies and

     contains the matters required by Local Rule 56.3.
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      Dated October 20, 2023.                      Respectfully submitted.

      KEN PAXTON                                   /s/ Ryan D. Walters
      Attorney General                             RYAN D. WALTERS
                                                   Attorney-in-Charge
      BRENT WEBSTER
      First Assistant Attorney General             Chief, Special Litigation Division
                                                   Texas Bar No. 24105085
      GRANT DORFMAN
      Deputy First Assistant Attorney General      MUNERA AL-FUHAID
                                                   Special Counsel
      RALPH MOLINA                                 Texas Bar No. 24094501
      Deputy Attorney General for Legal Strategy
                                                   Amy S. Hilton
                                                   Special Counsel
                                                   Texas Bar No. 24097834
                                                   ETHAN SZUMANSKI
                                                   Special Counsel
                                                   Texas Bar No. 24123966

                                                   Office of the Attorney General of Texas
                                                   Special Litigation Division
                                                   P.O. Box 12548, Capitol Station
                                                   Austin, Texas 78711-2548
                                                   ryan.walters@oag.texas.gov
                                                   munera.al-fuhaid@oag.texas.gov
                                                   amy.hilton@oag.texas.gov
                                                   ethan.szumanski@oag.texas.gov
                                                   Counsel for the State of Texas


                              C E R T I FI C AT E O F S E R VI CE
            I certify that on October 20, 2023, this document was filed through the

     Court’s CM/ECF system, which served it upon all counsel of record.

                                                   /s/ Ryan D. Walters
                                                   RYAN D. WALTERS
